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United States District Court
District of Massachusetts

 

United States of America,
Plaintiff,

Criminal Action No.
19-10080-NMG

Vv.
Douglas Hodge,

Defendant.

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MEMORANDUM & ORDER
GORTON, J.

In this case, Douglas Hodge (“Hodge” or “petitioner” )
challenges the constitutionality of his October 21, 2019, guilty
plea before this Court during which he pled guilty to conspiring
with William “Rick” Singer (“Singer”) to have five of his
children fraudulently admitted to elite universities by, inter
alia, fabricating applications, falsifying athletic credentials
and bribing university employees and athletic coaches. Pending
before the Court is Hodge's motion (1) for a resentencing
pursuant to 28 U.S.C. § 2255, and (2) to vacate his plea to the

money laundering charge (Docket No. 1143).

I. Facts
Hodge’s conviction arises out of a case that has been

widely publicized and the facts of which this Court has recited
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several times. See Docket Nos. 1169 and 1334. Relevant here is
the following:

On April 9, 2019, Hodge was indicted on charges of
conspiracy to commit mail and wire fraud and honest services
mail and wire fraud and conspiracy to commit money laundering.
In May, 2019, the government began producing discovery on a
rolling basis. After engaging in plea negotiations, Hodge
ultimately decided to plead guilty, without an agreement, to
both counts of the Indictment provided the government agreed not
to supersede with additional charges.

On October 21, 2019, Hodge pled guilty to conspiracy to
commit mail and wire fraud and honest services mail and wire
fraud and conspiracy to commit money laundering. At the plea
colloquy, Hodge admitted, under oath, that he had agreed to
commit

mail and wire fraud and honest services mail and wire fraud

through the payment of bribes as well as the submission of

falsities as part of applications for admission to USC
and that he had conspired to commit money laundering by
“funneling bribe payments” through Singer’s entities, The Key
and KWF. Docket No. 606 at 1, 11, 14. The statement of facts to
which Hodge agreed included the following:

Hodge understood that some of the money would then be sent

to specific programs at USC as a quid pro quo inducement to

the employees responsible for managing those programs.

Id. at 12.
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On January 9, 2020, Hodge met with the government for a
proffer interview. During that proffer, Hodge admitted to
knowing that his “side door” arrangement with Singer and, by
extension, the coaches, was a quid pro quo distinct from the
legitimate donations process.

Following the proffer and prior to Hodge’s sentencing, the
government submitted a statement of offense conduct to the
Probation Office that described the quid pro quo payments Hodge
made to facilitate his children’s admission to college as
“bribes,” regardless of whether they were directed to a coach
personally, one of Singer's entities or a USC athletic program.
Hodge did not object to that characterization, despite
submitting other written objections to the pre-sentence report.

Hodge’s counsel filed a sentencing memorandum prior to
sentencing. In it, Hodge contended that Singer informed him
that his payments would be made to support university programs
and under-privileged students via Singer's charity. Hodge
admitted, however, that he knew Singer was falsely representing
his own children as athletes and that his payments would be used
as a quid pro quo inducement to university employees to
participate in the fraudulent scheme.

On February 7, 2020, this Court sentenced Hodge to nine
months in prison. Thereafter, the government continued its

rolling production of documents to the other defendants in the
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case. Hodge filed the instant motion for collateral relief on

May 1, 2020.

II. Discussion
A. Legal Standard

Under Title 28 of the United States Code, Section 2255(a),
a convicted defendant may move the court that imposed his
sentence to vacate, set aside or correct the sentence if it was
imposed in violation of the Constitution or laws of the United
States. For example, a defendant may bring a § 2255 motion to
attack his sentence “on the ground that his guilty plea was not
knowing or voluntary if his claim is based on evidence not
available to him at the time of the plea.” Ferrara v. United
States, 456 F.3d 278, 289 (lst Cir. 2006).

To prevail on this kind of claim, a convicted defendant
must make two showings: (1) that “egregiously impermissible
conduct...antedated the entry of his plea,” Ferrara, 456 F.3d at
290, and (2) that the misconduct was material to his decision to
plead guilty. Id.; see also Wilkins v. United States, 754 F.3d
24, 28 (list Cir. 2014).

When the misconduct involves newly emergent evidence not
previously disclosed, the second prong of the analysis will
depend,in large part,on whether the evidence likely would have

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changed the outcome of a trial. Hill v. Lockhart, 474 U.S. 52
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59 (1985). This inquiry compels the use of an objective
standard. Id. at 59-60; see also Ferrara, 456 F.3d at 294.
B. Resentencing

Hodge claims that the government failed to provide
exculpatory evidence prior to his plea, contravening Brady v.
Maryland, 373 U.S. 83, 86(1963). More specifically, he asserts
that the government failed to provide: (1) evidence of Hodge's
intent to make payments on behalf of his fifth child to Loyola
Marymount University (“LMU”) and not to the LMU basketball coach
personally, and (2) general evidence that Hodge and other
defendants believed their payments were donations to
universities and not bribes to individual coaches.

In Brady, the Supreme Court held that the government's
suppression of evidence favorable to the accused violates due
process “where the evidence is material to guilt or punishment.”

Conley v. United States, 415 F.3d 183, 188 (lst Cir. 2005).

 

Here, Hodge contends that the government withheld evidence
that he and other defendants understood and believed their
payments to be in the nature of donations to universities and
university programs, not individual bribes. Hodge points to
testimony from Singer that he indicated to Hodge and others that
their payments would go to the universities.

For example, Hodge cites Singer’s statement to agents that,

while he planned to keep Hodge’s payment on behalf of his fifth
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child for himself, he had conveyed to Hodge that his payment
would go to LMU and not to an individual coach. Hodge also
refers to the government’s communications with Singer regarding
consensually recorded phone calls wherein the government
exhorted Singer to explain to prospective clients that parents’
payments would go directly to coaches. Hodge argues that such
evidence is exculpatory because, according to Hodge, it
constituted an admission by the government that parents’
explicit acknowledgment of how their payments were used was
required to prove their intent to bribe.

The government responds that it did not withhold any Brady
material nor did Hodge suffer any prejudice. The government
submits that it disclosed the fact that Singer informed parents
that payments would benefit universities and that the
government’s theory of bribery included payments intended to
benefit a specific program at a university that induced a coach
or administrator to participate in the fake athlete scheme.
Moreover, the government avers that the distinction between
intent to bribe an individual or donate to an athletic program
is irrelevant as to Hodge because he made payments to both an
individual coach and to athletic programs. Finally, the
government asserts that Hodge admitted under oath to making
payments knowingly as part of a quid pro quo to have his

children admitted into a university.
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The Court agrees that any “suppressed” evidence was not, in
fact, exculpatory, and therefore Hodge’s habeas claim is
unavailing. First, the government disclosed evidence
duplicative of that which petitioner claims to be exculpatory.
Specifically, it disclosed that Singer told parents their
payments would benefit universities. Second, by the time Singer
made the consensually recorded telephone calls at issue and
spoke with Hodge about the LMU payments, he had been a full
participant in Singer’s scheme for ten years. By that time,
Hodge had made multiple payments to Singer, Singer’s associates
and directly to a university tennis coach (which he mailed to
the coach’s residence) in exchange for admission to university
for four of his children. And although government agents
clearly hoped that Singer would obtain explicit statements from
other parents regarding their intent to bribe coaches, as to
Hodge that intent can be clearly inferred from his prior
conduct.

Finally, Hodge admitted under oath, at his change of plea
and in his proffer interview, and as his counsel conceded in his
sentencing memorandum, his payments were made as a quid pro quo
to induce university insiders to offer his children admission to
their universities. “This admission is entitled to significant
(albeit not dispositive) weight when, as now, he seeks to vacate

that plea through a collateral attack.” Wilkins, 754 F.3d at 30;
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see also United States v. Padilla-Galarza, 351 F.3d 594, 598
(lst Cir. 2003) (*“Ordinarily, a defendant is stuck with the
representations that he himself makes in open court at the time
of the plea.”).

Ultimately, Hodge has not shown that the government failed
to provide to him exculpatory evidence under Brady v. Maryland.
Accordingly, petitioner’s motion for resentencing will be
denied.

Cc. Money Laundering Charge
Petitioner also argues that (1) his guilty plea to money
laundering was marred by the government’s failure to turn over
exculpatory evidence, (2) the government coerced him to plead
guilty to money laundering by threatening to charge him with
federal programs bribery, and (3) the money laundering charge is
legally and factually unsupportable.

First, as discussed above, the Court concludes that the
government did not withhold exculpatory evidence.

Second, without more, the fact that the government informed
Hodge that it intended to seek a superseding indictment adding
federal bribery charges against him and the other defendants
does not amount to coercion. Moreover, Hodge confirmed to the
Court, under oath, that his guilty plea had not been induced by

any promise or assurance of any kind. At that time, this Court
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found that his decision to plead guilty was knowing and
voluntary.

Third, the charge of money laundering was supported by the
illegal transactions underlying Hodge’s wire fraud and honest
services fraud charge. While it may be true that the funds were
originally proceeds from Hodge’s lawful employment, the moment
they were used in furtherance of an unlawful scheme they became

tainted. See United States v. Richard, 234 F.3d 763, 769 (lst

 

Cir. 2000). Hodge admitted under oath that he channeled the
subject payments through Singer’s entities in order to conceal
their nature and source. These facts are sufficient to support
the charge of money laundering.

Accordingly, petitioner’s motion to vacate his guilty plea

as to the money laundering charge will be denied.

III. Order
In accordance with the foregoing, petitioner’s motion (1)
for a resentencing, and (2) to vacate his plea to the money
laundering charge pursuant to 28 U.S.C. § 2255 (Docket No. 1143)

is DENIED and his petition is DISMISSED.

So ordered.

NatHaniel M. Gorton

United States District Judge
Dated July / « 2020
